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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 AGROVANA, LLC,

                Plaintiff and Counterclaim-
                Defendant,

 v.

 CONGO BRANDS LLC,
                                                    Civil Action No. 1:24-cv-12400-FDS
                Defendant,

                and

 PRIME HYDRATION, LLC,

                Defendant and Counterclaim-
                Plaintiff.



           STIPULATED ORDER FOR THE PRODUCTION AND EXCHANGE OF
                        CONFIDENTIAL INFORMATION

       With the consent of the parties signing below, the Court hereby ORDERS as follows:

       1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, responses to and information derived from

subpoenas, deposition testimony and exhibits, and information derived directly therefrom

(hereinafter, collectively, “documents” or “material”) shall be subject to this Order to the extent

that such documents or information are designated as Confidential Information (defined below).

This Order is subject to the Federal Rules of Civil Procedure and the Local Rules of the District

of Massachusetts on matters of interpretation and enforcement, including the calculation of time

periods.




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       2.      Confidential Information.       “Confidential Information” means information

designated as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” by the producing

party that falls within one or more of the following categories:

               (a)     information prohibited from disclosure by statute or agreement by which

                       the producing party is bound;

               (b)     research, development, technical, commercial or financial information that

                       the party has maintained as confidential;

               (c)     documents concerning a party’s finances, accounts, income tax returns

                       (including attached schedules and forms), W-2 forms, and 1099 forms;

               (d)     personal identity information, social security numbers, federal tax

                       identification numbers, dates of birth, and the like;

               (e)     information that reveals confidential or proprietary information (including

                       but not limited to trade secrets) not commonly known to the public and not

                       previously publicly disclosed in the litigation or otherwise.

Information or documents that are available to the public may not be considered as Confidential

Information.

               (a)

       3.      Designation of Documents Containing Confidential Information. A producing

party may designate documents as Confidential Information as follows:

               (a)     A producing party may designate a document as Confidential Information

                       for protection under this Order by placing or affixing the words

                       “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the




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                       document and on all copies in a manner that will not interfere with the

                       legibility of the document.

       The marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” or shall be

applied prior to or at the time the documents are produced or disclosed.

       Applying the marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a

document does not mean that the document has any status or protection by statute or otherwise

except to the extent and for the purposes of this Order. The designation of a document as

Confidential Information is a certification by an attorney of his good faith belief that the document

contains Confidential Information as defined in this Order.

       As used in this Order, “copies” includes electronic images, duplicates, extracts, summaries,

or descriptions that contain the Confidential Information. Any copies that are made of any

documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall also be so

marked.

       4.      Designation of Deposition Testimony Containing Confidential Information. A

party may designate deposition testimony as Confidential Information as follows

               (a)     Deposition testimony is protected by this Order only if designated as

                       “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the

                       record at the time the testimony is taken or by serving a Notice of

                       Designation on all parties of record within twenty (20) days after receipt of

                       the transcript. Such designation shall be specific as to the portions of the

                       transcript that contain Confidential Information.




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      (b)    All deposition testimony shall be treated as Confidential Information

             protected by this Order until twenty (20) days after delivery of the transcript

             by the court reporter to all parties.

5.    Protection of Confidential Information.

      (a)    General Protections. Confidential Information shall not be used for any

             purpose whatsoever other than in this litigation, including any appeal

             thereof, and shall not be disclosed to any person or entity except as provided

             in subparagraphs 5(b) and 5(c) below.

      (b)    Limited Disclosure of Confidential Information.            Access to and/or

             disclosure of Confidential Information shall be permitted only to the

             following categories of persons:

             (i)     Counsel. Counsel for the parties and employees of counsel who
                     have responsibility for the action.

             (ii)    Parties. The parties to this action and employees of a party who
                     have direct functional responsibility for the preparation and trial of
                     the litigation in which the information is disclosed, and only after
                     the employee is provided with a copy of, and becomes subject to,
                     the provisions of this Order by signing the certification contained in
                     Attachment A, Acknowledgement of Understanding and
                     Agreement to be Bound by Stipulated Confidentiality Order.

             (iii)   The Court. The Court and its personnel.

             (iv)    Court Reporters, Videographers, and Other Recorders. Court
                     reporters, videographers, and other recorders engaged for
                     depositions.

             (v)     Contractors. Those persons specifically engaged for the limited
                     purpose of making copies of documents or organizing or processing
                     documents, including outside vendors hired to process electronically
                     stored documents.

             (vi)    Consultants and Experts. Consultants, investigators, and/or experts
                     employed by the parties or counsel for the parties to assist in the
                     preparation and trial of this action but only after such persons have


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                              signed the certification contained in Attachment A,
                              Acknowledgment of Understanding and Agreement to Be Bound.

                      (vii)   Witnesses at Depositions. During their depositions, witnesses in
                              this action to whom disclosure is reasonably necessary. Witnesses
                              shall not retain a copy of documents containing Confidential
                              Information, except witnesses may receive a copy of all exhibits
                              marked at their depositions in connection with review of the
                              transcripts. Pages of transcribed deposition testimony or exhibits to
                              depositions that are designated as Confidential Information pursuant
                              to the process set out in this Order must be separately bound by the
                              court reporter and may not be disclosed to anyone except as
                              permitted under this Order.

                      (viii) Author, Recipient, or Furnisher of Information. The author,
                             recipient, or furnisher of the information in or of the document (not
                             including a person who received the document in the course of
                             litigation).

                      (ix)    Others by Consent. Other persons only by written consent of the
                              producing party or upon order of the Court on such conditions as
                              may be agreed upon or ordered.

                      (x)     Subpoena Respondents. Third-party individuals and/or entities that
                              are not named as parties to this lawsuit but have been served a lawful
                              subpoena related to this lawsuit and are required to disclose
                              information in response to that subpoena but only after the third-
                              party has signed the certification contained in Attachment A,
                              Acknowledgement of Understanding and Agreement to be Bound,
                              or as ordered by the Court.

              (c)     Control of Documents. Counsel for the parties shall make reasonable

                      efforts to prevent unauthorized or inadvertent disclosure of Confidential

                      Information. Counsel shall maintain the originals of the forms signed by

                      persons acknowledging their obligations under this Order for a period of

                      one (1) year after the termination of this action.

       6.     Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party or non-party intending to file a document designated

as Confidential Information in connection with a motion, brief, or other submission to this Court



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or any appellate court must comply with the rules of the relevant court and all state and federal

privacy laws. The proponent must either:

               (a)     Seek to file the document designated as Confidential Information under seal

                       pursuant to the court’s rules, or

               (b)     redact from any such filings all Confidential Information including all

                       account numbers, except for the last four digits of any account number,

                       federal tax identification numbers, social security numbers and dates of

                       birth.

       7.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential Information does not, standing alone, waive the right to designate a document as

Confidential Information. A party or non-party who inadvertently fails to designate a document as

Confidential Information may, within seven (7) days after discovering the need for such a

designation, provide written notice of the error to the receiving party and produce a substitute copy

of the document marked as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER.” Any

party that received the inadvertently unmarked documents shall retrieve such documents from

persons not entitled to receive them and, upon receipt of the substitute documents, shall promptly

return or destroy the inadvertently unmarked documents. No party shall be found to have violated

this Order for failing to maintain the confidentiality of material during a time when that material

has not been designated Confidential Information, even where the failure to so designate was

inadvertent.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it




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requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       9.      Challenges by a Party to Designation as Confidential. The designation of any

material, information, or document as Confidential Information under this Order is subject to

challenge by any party. The following procedure shall apply to any such challenge:

               (a)    Challenge Notice. A party challenging the designation of Confidential

                      Information shall first provide the designating party a written objection that

                      explains the basis for the challenging party’s belief that the confidentiality

                      designation was not proper (a “Challenge Notice”). The designating party

                      must respond to the Challenge Notice in writing within ten (10) business

                      days and, if the designating party declines to change the confidentiality

                      designation, explain the basis for the confidentiality designation. Failure to

                      respond to the Challenge Notice within ten (10) business days will

                      constitute a waiver of the confidentiality designation.

               (b)    Meet and Confer. If there are any outstanding disagreements after the

                      parties engage in the Challenge Notice process described in subparagraph

                      9(a) above, the parties may meet and confer in a good faith attempt to

                      resolve those disagreements. The challenging party may not seek judicial

                      intervention without having undergone the meet and confer process.

               (c)    Judicial Intervention. If the parties are unable to resolve the challenge, the

                      challenging party may serve and file a motion that identifies the challenged

                      material and sets forth in detail the basis for the challenge. The burden of

                      persuasion in any such challenge proceeding shall be on the designating




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                      party. Until the motion is resolved by Court order or the parties’ agreement,

                      all parties shall continue to treat the materials as Confidential Information

                      under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to the

Confidential Information must be made by motion. Nothing in this Order or any action or

agreement of a party under this Order limits the Court’s power to make orders concerning the

disclosure of documents produced in discovery or at trial.

       11.     Production of Privileged or Work-Product Documents.            The production of

privileged or work-product protected documents, electronically stored information (“ESI”), or

other information, whether inadvertent or otherwise, is not a waiver of the privilege or protection

from discovery in this case or in any other federal or state proceeding. This Order shall be

interpreted to provide the maximum protection from unauthorized disclosure allowed by Federal

Rule of Evidence 502(d).

       12.     Review of Documents. Nothing contained in this Order is intended to or shall serve

to limit a party’s right to conduct a review of documents, ESI, or other information (including

metadata) for relevance, responsiveness, and/or segregation of privileged and/or protected

information before production.

       13.     Challenges to Sealing Orders. A party has a right to challenge the sealing of

particular documents that have been filed under seal, and the party asserting confidentiality will

have the burden of demonstrating the propriety of filing under seal.

       14.     Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

               (a)    If a receiving party is served with a subpoena or an order issued in other

                      litigation that would compel disclosure of any documents, materials, or




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              information designated in this action as Confidential Information, the

              receiving party must, to the extent permitted by law, notify the designating

              party and/or its/his/her attorney, in writing, within seven (7) business days

              after receiving the subpoena or order. Such notification must include a copy

              of the subpoena or court order in question.

       (b)    The receiving party, to the extent permitted by law, also must immediately

              inform, in writing, the party who caused the subpoena or order to issue in

              the other litigation that some or all of the material covered by the subpoena

              or order is subject to this Order. In addition, the receiving party, to the

              extent permitted by law, must deliver a copy of this Order promptly to the

              party in the other action that caused the subpoena to issue.

       (c)    To the extent permitted by law, the purpose of imposing these duties is to

              alert the interested persons to the existence of this Order and to afford the

              designating party and/or its/his/her attorney in this case an opportunity to

              try to protect its Confidential Information in the court from which the

              subpoena or order issued. The designating party and/or its/his/her attorney

              shall bear the burden and the expense of seeking protection in that court of

              its Confidential Information.     Nothing in these provisions should be

              construed as authorizing or encouraging a receiving party in this action to

              disobey a lawful directive from another court. The obligations set forth in

              this paragraph remain in effect while the party has in its/his/her possession,

              custody, or control Confidential Information of the other party to this case.

1. Obligations on Conclusion of Litigation.



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               (a)    Order Continues in Force. Unless otherwise agreed or ordered, this Order

                      shall remain in force after dismissal or entry of final judgment not subject

                      to further appeal.

               (b)    Returning or Destroying Confidential. Within 60 days after dismissal or

                      entry of final judgment not subject to further appeal, all Confidential

                      Information under this Order shall be returned to the producing party. If the

                      parties so agree, the Confidential Information may be destroyed instead of

                      being returned.

               (c)    Retention of Work Product and Filed Documents. Counsel may retain:

                      (i)     attorney work product, including an index that refers to or relates to
                              designated Confidential Information;

                      (ii)    documents filed with the Court including those filed under seal; and

                      (iii)   hard copy and electronic copies of all deposition transcripts.

                      Any retained Confidential Information shall continue to be protected under
                      this Order. An attorney may use his or her work product in subsequent
                      litigation, provided that its use is in conformance with the terms of this
                      agreement.

       15.     Order Subject to Modification. This Order is subject to modification by the Court

on its own initiative or on motion of a party or other person with standing concerning the subject

matter. Nothing in this Order shall be construed as prejudicing any party’s right to seek an

agreement or Court order providing additional confidentiality or other protections to any

documents or materials produced in this litigation. However, until such agreement or order is

obtained, this Order shall govern.

       16.     No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any document or material designated


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Confidential Information by counsel or the parties is entitled to protection under the Federal Rules

of Civil Procedure or otherwise until such time as the Court rules on a specific document or issue.

       17.     Persons Bound. This Order takes effect when entered by the Court and is binding

on the parties, all counsel of record and their law firms, persons made subject to this Order by its

terms, and persons made subject to this Order by having signed Attachment A, Acknowledgement

of Understanding and Agreement to be Bound by Stipulated Confidentiality Order.




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IT IS SO STIPULATED.

                                      Agrovana, LLC,
Dated: March 11, 2025
                                      By its attorneys,

                                      /s/ Edward Foye
                                      Edward Foye (BBO #562375)
                                      ARROWOOD LLP
                                      10 Post Office Square, 7th Floor South
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                                      Email: efoye@arrowoodllp.com




Dated: March 11, 2025                 Congo Brands LLC and
                                      Prime Hydration, LLC,

                                      By their attorneys,

                                      /s/ Alison T. Holdway
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                                      Alison T. Holdway (BBO #690569)
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                                      - and -

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IT IS SO ORDERED.



DATED:    April 9, 2025             /s/ F. DENNIS SAYLOR, IV
                                  THE HONORABLE F. DENNIS SAYLOR IV
                                  SENIOR UNITED STATES DISTRICT JUDGE




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